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                                                    5   Attorneys for Defendant
                                                        ARICELA VILLA
                                                    6

                                                    7                               IN THE UNITED STATES DISTRICT COURT

                                                    8                         FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                    9

                                                   10   UNITED STATES OF AMERICA,                          Case No. 2:07-CR-515-07-WBS
                                                   11                  Plaintiff,                          AMENDED STIPULATION AND
                                                                                                           [PROPOSED] ORDER
                                                   12          v.
B ARTH T OZER & D ALY LLP
                       S ACRAMENTO , C ALIFORNIA




                                                   13   ARICELA VILLA,                                     Date: January 22, 2012
                           A TTORNEYS A T L AW




                                                                                                           Time: 9:30 a.m.
                                                   14                  Defendant.                          Judge: Honorable William B. Schubb

                                                   15

                                                   16                  It is hereby stipulated and agreed to between the United States of America through

                                                   17   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                   18   Kresta Nora Daly, that the sentencing set for January 22, 2013 be vacated and that a new

                                                   19   sentencing date be set for April 15, 2013 at 9:30 a.m.

                                                   20
                                                                       The parties contemplate an updated pre-sentence report being available for the
                                                   21
                                                        hearing on April 15, 2013. The new disclosure schedule shall be as follows:
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  Case 2:07-cr-00515-WBS Document 359 Filed 01/23/13 Page 2 of 2



  Judgment and Sentencing Date:                                          April 15, 2013 @ 9:30 a.m.

  Reply or Statement of Non-Opposition:                                  April 8, 2013

  Motion for Correction of the Presentence Report shall
  be filed with the Court and served on the Probation
  Officer and opposing counsel no later than:                            April 1, 2013

  The Presentence Report shall be filed with the Court
  and disclosed to counsel no later than:                                March 25, 2013

  Counsel’s written objections to the Presentence
  Report shall be delivered to the Probation Officer and
  opposing counsel no later than:                                        March 18, 2013

  The proposed Presentence Report shall be disclosed
  to counsel no later than:                                              March 4, 2013




Dated: January 22, 2013.              Respectfully submitted,

                                      BARTH TOZER & DALY LLP



                                      By     /s/ Kresta Nora Daly
                                             KRESTA NORA DALY
                                       Attorneys for ARICELA VILLA


Dated: January 22, 2013               By       /s/ Kresta Nora Daly
                                               MICHAEL BECKWITH
                                               Assistant United States Attorney

                                             ORDER

               IT IS SO ORDERED.

Dated: January 22, 2013




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                            OPPOSITION TO MOTION FOR APPOINTMENT OF RECEIVER
